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                       UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               WACO DIVISION


     TERRESTRIAL COMMS LLC,

                Plaintiff                             Case No. 6:20-cv-00106


                v.                                    JURY TRIAL DEMANDED


     BEST BUY CO., INC.,

                Defendant


                     COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Terrestrial Comms LLC (“Plaintiff” or “Terrestrial”) hereby asserts the

 following claims for patent infringement against Defendant Best Buy Co., Inc.

 (“Defendant” or “BBY”), and alleges, on information and belief, as follows:

                                      THE PARTIES

1.      Terrestrial is a limited liability company organized and existing under the laws of

the Texas with its principal place of business at 17330 Preston Road, Suite 200D, Dallas,

Texas 75252.

2.      Defendant is a corporation organized and existing under the laws of Minnesota

with corporate address of 7601 Penn Avenue South, Richfield, Minnesota 55423.

                             JURISDICTION AND VENUE

3.      This action arises under the patent laws of the United States, 35 U.S.C. § 1, et seq.

This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).

4.      Defendant has committed acts of infringement in this judicial district.
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5.    On information and belief, the Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in the

state of Texas, has conducted business in the state of Texas, and/or has engaged in

continuous and systematic activities in the state of Texas.

6.    On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in the

Western District of Texas.

7.    Defendant has a regular established place of business in this judicial district at

11066 Pecan Park Blvd, Unit 300, Cedar Park, Texas 78613.

8.    Venue is proper in the Western District of Texas pursuant to 28 U.S.C. § 1400(b).

                                ACUSED PRODUCTS

9.    Upon information and belief, Defendant makes, uses, imports, sells, and/or offers

for sale the Insignia Wireless Keyboard and Mouse Combo, (collectively the “Accused

Products”).

10.   Upon information and belief, Defendant encourages and supports the use of the

Accused Products through its online support and advertising.

                               THE PATENTS-IN_SUIT

11.   On August 12, 2008, United States Patent No. 7,411,552 (the “’552 patent”),

entitled “Grounded Antenna for a Wireless Communication Device and Method,” was

duly and lawfully issued by the U.S. Patent and Trademark Office.

12.   Terrestrial is the assignee and owner of the right, title and interest in and to the

’552 patent, including the right to assert all causes of action arising under said patents

and the right to any remedies for infringement of them.



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13.    On December 6, 2005, United States Patent No. 6,973,133 (the “’133 patent”),

entitled “Integrated Radio Frequency Interface,” was duly and lawfully issued by the U.S.

Patent and Trademark Office.

14.    Terrestrial is the assignee and owner of the right, title and interest in and to the

’133 patent, including the right to assert all causes of action arising under said patents

and the right to any remedies for infringement of them.

15.    On February 11, 2003, United States Patent No. 6,519,290 (the “’290 patent”),

entitled “Integrated Radio Frequency Interface,” was duly and lawfully issued by the U.S.

Patent and Trademark Office.

16.    Terrestrial is the assignee and owner of the right, title and interest in and to the

’290 patent, including the right to assert all causes of action arising under said patents

and the right to any remedies for infringement of them.

             COUNT I – INFRINGEMENT OF U.S. PATENT NO. 7,411,552

17.    Terrestrial repeats and realleges the allegations of paragraphs 1 through 15 as if

fully set forth herein.

18.    Claim 1 of the ’552 Patent recites:

       1.       A wireless communication device, comprising:

                a substrate;

                a ground plane positioned on one side of the substrate;

                a wireless communication chip electrically connected to said ground plane

                      and proximate thereto;

                an antenna having a first end and a second end, said first end electrically

                      connected to said ground plane; and



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              said second end comprising an open circuit.

19.    Without license or authorization and in violation of 35 U.S.C. § 271(a), Defendant

has infringed and continues to infringe the ’552 Patent by making, using, importing,

offering for sale, and/or selling the Accused Products.

20.    As exemplified below, the Accused Products are a wireless communication device

that communicates via Bluetooth and Wi-Fi.

       A wireless communication device, comprising:

       The Accused Instrument communicates via Wireless USB radio and Bluetooth.




       https://www.bestbuy.com/site/insignia-wireless-keyboard-and-mouse-
       black/5502800.p?skuId=5502800&ref=17&loc=11&CampaignID=1032052
       &SubscriberID=606795535

       a substrate; a ground plane positioned on one side of the substrate;

       The chipset of the Accused Instrument comprises of a substrate and a ground


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plane positioned on one side of that substrate:




https://fccid.io/PRDKB25/Internal-Photos/Internal-Photos-3218125




      a wireless communication chip electrically connected to said ground plane
      and proximate thereto;

      The Keyboard features a wireless communication chip that, through a wiring

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pattern, connects to said ground plane




      an antenna having a first end and a second end, said first end electrically
      connected to said ground plane; and

      The Accused Products comprise an antenna having two ends, one electrically

connected to said ground plane and another comprising an open circuit:




      said second end comprising an open circuit.

      The second end of the antenna comprises an open circuit (e.g. not electrically

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connected).




21.    Terrestrial is entitled to recover from Defendant the damages sustained by

Terrestrial as a result of Defendant's infringement of the ’552 Patent in an amount

subject to proof at trial, which, by law, cannot be less than a reasonable royalty, together

with interest and costs as fixed by this Court under 35 U.S.C. § 284.

             COUNT II – INFRINGEMENT OF U.S. PATENT NO. 6,973,133

22.    Terrestrial repeats and realleges the allegations of paragraphs 1 through 15 as if

fully set forth herein.

23.    Claim 1 of the ’133 Patent recites:

       1.       An apparatus comprising:

                a circuit configured to (i) communicate one or more Universal Serial Bus

                      (USB) data signals via a wireless radio signal comprising a single

                      frequency hopping sequence configured to support one or more USB

                      devices and (ii) enumerate said one or more USB devices.

24.    Without license or authorization and in violation of 35 U.S.C. § 271(a), Defendant

has infringed and continues to infringe the ’133 Patent by making, using, importing,

offering for sale, and/or selling the Accused Products.




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25.   As exemplified below, the Accused Products are an apparatus comprising a circuit

configured to communicate USB data signals over a wireless frequency.

      An apparatus comprising:

The Accused Products are an apparatus comprising a circuit configured to communicate

USB data signals over a wireless frequency to one or more USB devices (e.g. keyboard

and mouse) and to enumerate the USB devices.




https://www.insigniaproducts.com/pdp/NS-PNC7011/5502800

      a circuit configured to (i) communicate one or more Universal Serial Bus
      (USB) data signals via a wireless radio signal comprising a single frequency
      hopping sequence configured to support one or more USB devices and

      The Accused Products include a circuit configured to communicated one or more

USB data signals to support one more USB devices.

      The Accused Products include a USB Transceiver unit.




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https://fccid.io/PRDRX0F/Test-Report/Test-Report-3013862.iframe




      The circuit is a device configured to communicate via wireless radio frequency.

      The circuit is operable to communicate with one or more USB devices.




https://files.bbystatic.com/LV619s%2FNMB19S8bD9Nb%2BvA%3D%3D/NS-
PNC7011_16-0816_QSG_V2_EN_Final_lr.pdf

      The host device (e.g. computer) communicates data through the circuit (e.g. USB
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dongle) to a USB device (e.g. keyboard) via wireless radio signal.

      As an example of this communication, after a user presses the “Caps Lock” key on

a computer which hosts the circuit, then, when the user presses a key on the wireless

keyboard the “Caps Lock” indicator on the wirelessly connected keyboard lights up.




      The circuit operates on a frequency hopping sequence (e.g. frequency-shift keying).




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https://fccid.io/PRDRX0F/Test-Report/Test-Report-3013862

      The circuit operates between 2408, 2440, and 2474 MHz.

      The frequency hopping sequence supports one or more USB devices (e.g. mouse

and keyboard).

      (ii) enumerate said one or more USB devices.

          The Accused Products are operable to enumerate the USB devices.




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“A hardware ID is a vendor-defined string that Windows uses to match a device to an

INF file.”


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https://docs.microsoft.com/en-us/windows-hardware/drivers/install/hardware-ids

26.    Terrestrial is entitled to recover from Defendant the damages sustained by

Terrestrial as a result of Defendant's infringement of the ’133 Patent in an amount

subject to proof at trial, which, by law, cannot be less than a reasonable royalty, together

with interest and costs as fixed by this Court under 35 U.S.C. § 284.

            COUNT III – INFRINGEMENT OF U.S. PATENT NO. 6,519,290

27.    Terrestrial repeats and realleges the allegations of paragraphs 1 through 15 as if

fully set forth herein.

28.    Claim 1 of the ’290 Patent recites:

       1.      An apparatus comprising:

               a circuit configured to generate a wireless radio signal in response to one

                     or more first Universal Serial Bus (USB) data signals,

               wherein said wireless radio signal comprises a single frequency hopping

                     sequence configured to support one or more USB peripheral wireless

                     network devices, and

               said circuit is configured to (i) generate said one or more first USB data

                     signals in response to said wireless radio signal and

               (ii) enumerate said one or more USB devices.

29.    Without license or authorization and in violation of 35 U.S.C. § 271(a), Defendant

has infringed and continues to infringe the ’290 Patent by making, using, importing,

offering for sale, and/or selling the Accused Products.

30.    As exemplified below, the Accused Products are a circuit configured to

communicate USB data signals over a wireless frequency.



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       An apparatus comprising:

       The Accused Products are an apparatus comprising a circuit configured to

communicate USB data signals over a wireless frequency to one or more USB devices

(e.g. keyboard and mouse) and to enumerate the USB devices.




https://www.insigniaproducts.com/pdp/NS-PNC7011/5502800



       a circuit configured to generate a wireless radio signal in response to one or
       more first Universal Serial Bus (USB) data signals,

       The Accused Products include a circuit configured to generate a wireless radio

signal in response to one or more first Universal Serial Bus (USB) data signals.

       The first data signal below is communicated between the host device and the USB

interface.

       To set up the USB interface, the client drivers (provided by the host) communicate

with the receiver to establish the protocol as described below:




       The service shown above is the USB generic parent driver

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https://docs.microsoft.com/en-us/windows-hardware/drivers/usbcon/usb-common-class-
generic-parent-driver




      In response to said first data transaction the device is then registered to the

computer and begins transmitting a wireless frequency device to connect to peripheral

devices (a mouse and keyboard)




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PNC7011_16-0816_QSG_V2_EN_Final_lr.pdf

      Then once the peripheral device is turned on, the USB Transceiver registers and

communicates with said device.




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      wherein said wireless radio signal comprises a single frequency hopping
      sequence configured to support one or more USB peripheral wireless network
      devices, and

      The radio signal generated comprises a frequency hopping sequence to support

one or more peripheral devices




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      The circuit is a device configured to communicate via wireless radio frequency.




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PNC7011_16-0816_QSG_V2_EN_Final_lr.pdf

     The circuit is operable to communicate with one or more USB devices.




https://files.bbystatic.com/LV619s%2FNMB19S8bD9Nb%2BvA%3D%3D/NS-

PNC7011_16-0816_QSG_V2_EN_Final_lr.pdf

     The circuit operates on a frequency hopping sequence (e.g. frequency-shift keying).




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https://fccid.io/PRDRX0F/Test-Report/Test-Report-3013862

      The circuit operates between 2405 and 2474 MHz.

      The frequency hopping sequence supports one or more USB peripheral devices

(e.g. mouse and keyboard).

      said circuit is configured to (i) generate said one or more first USB data
      signals in response to said wireless radio signal and

      The device generates a USB data signal in response to said wireless radio signal.

      The circuit is a device configured to communicate via wireless radio frequency (e.g.

2.4 GHz wireless radio).




      The circuit is operable to communicate with one or more USB devices (e.g. Mouse

and Keyboard).




https://fccid.io/PRDKB25/Label/Label-3218124

      The transmitter in the wireless keyboard sends a data signal via a radio frequency

to the USB device which receives the radio signals and converts that data into a USB

data signal which is then communicated to the host device

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https://fccid.io/PRDKB25/Test-Report/Test-Report-3218127

      When the caps lock light when pressed on the wireless keyboard turns on the caps

lock light on the host computers keyboard




      (ii) enumerate said one or more USB devices.

          The Accused Products are operable to enumerate the USB devices.




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“A hardware ID is a vendor-defined string that Windows uses to match a device to an

INF file.”

https://docs.microsoft.com/en-us/windows-hardware/drivers/install/hardware-ids

31.    Terrestrial is entitled to recover from Defendant the damages sustained by

Terrestrial as a result of Defendant's infringement of the ’290 Patent in an amount

subject to proof at trial, which, by law, cannot be less than a reasonable royalty, together

with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                PRAYER FOR RELIEF

       WHEREFORE, Terrestrial requests that this Court enter judgment against

Defendant as follows:

       A.     An adjudication that Defendant has infringed the ’552 Patent, the ’133



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Patent, and the ’290 Patent;

       B.     An award of damages to be paid by Defendant adequate to compensate

Terrestrial for Defendant's past infringement of the ’552 Patent, the ’133 Patent, and the

’290 Patent, and any continuing or future infringement through the date such judgment

is entered, including interest, costs, expenses and an accounting of all infringing acts

including, but not limited to, those acts not presented at trial;

       C.     A declaration that this case is exceptional under 35 U.S.C. § 285, and an

award of Terrestrial's reasonable attorneys' fees; and

       D.     An award to Terrestrial of such further relief at law or in equity as the

Court deems just and proper.

                                    JURY DEMAND

Plaintiff demands trial by jury, Under Fed. R. Civ. P. 38.



Dated: February 11, 2020                         Respectfully Submitted

                                                 /s/ Raymond W. Mort, III
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